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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 UNILOC USA, INC. and UNILOC             )
 LUXEMBOURG, S.A.,                       )
                                         )
                       Plaintiffs,       )
                                         )
                  v.                     )   C.A. No. 17-1658 (CFC)
                                         )
 MOTOROLA MOBILITY, LLC,                 )
                                         )
                       Defendant.        )


            MOTOROLA MOBILITY, LLC’S OPENING BRIEF IN SUPPORT
              OF ITS MOTION TO STAY PENDING RESOLUTION OF
              MOTION TO SUBSTITUTE AND MOTION TO DISMISS


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January 7, 2019
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  I.   NATURE AND STAGE OF THE PROCEEDING

       Plaintiffs Uniloc USA, Inc. and Uniloc Luxembourg, S.A., (collectively, “Plaintiffs”)

filed this action against Defendant Motorola Mobility, LLC (“Motorola”), alleging infringement

of U.S. Patent No. 6,161,134 (“the ’134 Patent”) under 35 U.S.C. § 271, et seq. On February 12,

2018, pursuant to Fed. R. Civ. P. 12(b)(6), Motorola moved to dismiss the Complaint for failure

to state a claim upon which relief can be granted. (D.I. 6, 7). Plaintiffs filed an Amended

Complaint in response on March 2, 2018 (D.I. 10). Because Plaintiffs’ Amended Complaint

failed to cure the issues raised in Motorola’s Motion to Dismiss, pursuant to Fed. R. Civ. P.

12(b)(6), Motorola filed a Motion to Dismiss the Amended Complaint, which remains pending.

(D.I. 11, 12). The parties have begun claim construction briefing, with the Markman hearing

currently scheduled for February 28, 2019. (See D.I. 46).

       On December 26, 2018, pursuant to Fed. R. Civ. P. 12(b)(1), Motorola moved to dismiss

the Amended Complaint with prejudice for lack of subject matter jurisdiction because Plaintiffs

lacked constitutional standing at the time the Original Complaint was filed. (See D.I. 56–58).

On December 11, 2018, in a futile attempt to cure their standing issues, Plaintiffs filed a Motion

to Substitute Uniloc 2017 LLC (“Uniloc 2017”) as Plaintiff under Fed. R. Civ. P. 25(c).

(D.I. 50). Motorola opposed Plaintiffs’ motion as untimely and futile. (D.I. 59). Plaintiffs do

not contest that their motion is untimely, asserting only that Uniloc 2017 should get a chance to

oppose the Motion to Dismiss. (See D.I. 63).

       Motorola now moves for this case to be stayed at least until Motorola’s Motion to

Dismiss (D.I. 56–58) and Plaintiffs’ Motion to Substitute (D.I. 50) are decided, in order to avoid

unnecessary burden on the Court and the parties. Even if Motorola’s Motion is denied and

Plaintiffs’ Motion is granted, a stay would prevent Motorola from further seeking discovery



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from, and producing discovery to, the wrong entities, as even Plaintiffs admit that they “[no]

longer ha[ve] any rights in the patent in suit,” and that a third party, Uniloc 2017 LLC,

purportedly is the patent owner. (See D.I. 50, Foster Decl. ¶¶ 2-3). Pursuant to Local Rule 7.1.1,

counsel for Motorola made a reasonable effort to agree with counsel for Uniloc. The parties

discussed the issue via teleconference on January 4, 2018, but did not reach an agreement.

 II.   SUMMARY OF ARGUMENT

       Plaintiffs should not be able to impose litigation burdens on Motorola at least until

Motorola’s Motion to Dismiss and Plaintiffs’ Motion to Substitute are decided for the following

reasons:

       1.      Issues for trial will be simplified if the case is stayed. Because Motorola has

moved to dismiss the case in its entirety, the costs and burden of discovery will be unnecessary if

the Court grants Motorola’s Motion to Dismiss. Moreover, because Plaintiffs lack standing,

allowing the case to proceed creates jurisdictional issues for purposes of claim construction and

the resolution of discovery disputes.

       2.      Case is in early stages. Although discovery has been open since June, Plaintiffs

have produced fewer than 100 documents, most of which are directed to the topic of standing, no

depositions have been taken, and the claim construction process has only just begun.

       3.      No undue prejudice to the non-movant.              Plaintiffs cannot show undue

prejudice. Plaintiffs and Motorola are not competitors; rather, Plaintiffs are non-practicing

entities asserting an expired patent. Plaintiffs did not move for a preliminary injunction, waited

seven months to file their Motion to Substitute, and would suffer no undue harm from delay. By

contrast, continuing discovery and litigation unnecessarily disrupts Motorola’s operations and

consumes its resources.



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III.   LEGAL STANDARD

       “A decision to stay litigation lies within the sound discretion of the court and represents

an exercise of the court’s inherent power to conserve judicial resources by controlling its own

docket.” Neste Oil OYJ v. Dynamic Fuels, LLC, No. 12-1744-GMS, 2013 WL 3353984, at *1

(D. Del. July 2, 2013) (internal quotations omitted). Courts “typically consider[] three factors

when deciding a motion to stay: (1) whether granting the stay will simplify the issues for trial;

(2) the status of the litigation, particularly whether discovery is complete and a trial date has

been set; and (3) whether a stay would cause the non-movant to suffer undue prejudice from any

delay, or allow the movant to gain a clear tactical advantage.” Princeton Digital Image Corp. v.

Konami Digital Entm't Inc., Nos. 12-1461-LPS, 13-335-LPS, 2014 WL 3819458, at *2 (D. Del.

Jan. 15, 2014). “In exercising discretion over whether to grant a motion to stay, courts may also

consider whether the moving party would face undue hardship or inequity in the absence of a

stay.” St. Clair Intellectual Prop. Consultants, Inc. v. Motorola Mobility LLC, No. 11-1305, 2012

WL 4321743, at *1 (D. Del. Sept. 20, 2012).

IV.    ARGUMENT

           A. A Stay Would Simplify The Issues

       The pending Motion to Dismiss (D.I. 56–58) is dispositive and addresses the very issue

of the Court’s jurisdiction in this case. Where, as here, Plaintiffs lack standing, the Court does

not have subject matter jurisdiction over the case. In re Schering Plough Corp. Intron/Temodar

Consumer Class Action, 678 F.3d 235, 246 (3d Cir. 2012) (“It is well-established that a

plaintiff’s Article III standing is a prerequisite for the federal courts to decide the merits of a

suit.”). Accordingly, allowing the case to proceed creates jurisdictional issues for purposes of

claim construction and the resolution of discovery disputes. Moreover, given that Plaintiffs did

not even have a right to bring this case in the first instance, continuing to pursue discovery in the

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interim would result in a waste of time and money expended by the parties and the Court in

addressing discovery disputes. As the Third Circuit has stated, a stay is appropriate where “if the

motion is granted, discovery would be futile.” Mann v. Brenner, 375 Fed. Appx. 232, 239 (3d

Cir. 2010) (affirming district court’s stay pending resolution of motion to dismiss); see

also Chavous v. D.C. Fin. Responsibility & Mgmt. Assistance Auth., 201 F.R.D. 1, 2 (D.D.C.

2005) (“A stay of discovery pending the determination of a dispositive motion ‘is an eminently

logical means to prevent wasting the time and effort of all concerned, and to make the most

efficient use of judicial resources.’” (quoting Coastal States Gas Corp. v. Department of Energy,

84 F.R.D. 278, 282 (D. Del. 1979)). A stay of the litigation would conserve party and judicial

resources, should the Court grant Motorola’s Motion to Dismiss (D.I. 56–58).

       Even if the Court were to deny Motorola’s Motion to Dismiss and grant Plaintiffs’

Motion to Substitute, a stay would prevent Motorola from wasting additional time and resources

seeking discovery from, and producing discovery to, the wrong parties. Plaintiffs allege that

they are not the current owners of the patent-in-suit, and in fact have not been for the past seven

months. (See D.I. 50 at 1 (“In an Assignment that became effective as of May 2018, Uniloc

Luxembourg, S.A. assigned all of its rights, interest, and title in the patent-in-suit, including the

right to all causes of action, to Uniloc 2017 LLC.”) (emphasis added)). Thus, the first factor

weighs in favor of a stay.

           B. The Case Is Still in Early Stages

       “Granting [] a stay early in a case can be said to advance judicial efficiency,” especially

when “most of the significant case events are well in the future . . . [and] [p]erhaps more

significantly, discovery is in its nascent stages.” Princeton Digital, 2014 WL 3819458, at *3–*4.

Here, although discovery has been open since June, Plaintiffs have produced fewer than 100



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documents, most of which were on the topic of standing, no depositions have been taken, and the

claim construction process has only just begun. Indeed, the bulk of fact discovery, expert

discovery, and claim construction lie ahead, with discovery disputes already brewing. Thus,

Motorola respectfully submits that this case is at the ideal stage for the Court and the parties to

receive the full benefit of a brief stay pending resolution of Motorola’s dispositive Motion to

Dismiss and Plaintiffs’ Motion to Substitute.

           C. A Stay Would Not Unduly Prejudice Plaintiffs

       As with the first two factors, the third factor as weighs in favor of a stay. Not only will a

stay not unduly prejudice Plaintiffs, it will not meaningfully prejudice them at all. The stay

Motorola requests will be short. Further, Plaintiffs are non-practicing entities, not competitors of

Motorola, asserting an expired patent. In contrast, Motorola will be prejudiced by on-going

litigation with parties who, by their own allegations, have no rights in the asserted patent, and by

being subject to discovery and claim construction in a case without subject matter jurisdiction.

       The only impact to Plaintiffs will be a potential short wait during the pendency of the

Motion to Dismiss and the Motion to Substitute. Because Plaintiffs are not operating entities

making commercial use of the patented method, let alone competitors of Motorola’s, time is not

critical. Instead, Plaintiffs are non-practicing entities asserting a patent for which any potential

infringement damages stopped accruing on October 30, 2018, when the patent expired.

Plaintiffs’ own lack of urgency, both in filing suit and in filing their Motion to Substitute,

underscores the fact that a stay would not unduly prejudice Plaintiffs. Because Plaintiffs are

non-practicing entities asserting an expired patent that they seek to monetize via litigation,

Plaintiffs did not seek a preliminary injunction against Motorola, and have not requested

injunctive relief in any form. (See D.I. 10, Prayer for Relief). Plaintiffs’ decision not to seek a

preliminary injunction—even before the patent expired—underscores that the parties are not

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“‘direct competitors’ such that this sub-factor should weigh against a stay.” Neste Oil, 2013 WL

3353984, at *4. Because “the rationale behind the ‘direct competitor’ consideration—protection

of market share and good will—are not implicated in this case,” this Court should not consider

that sub-factor. Celorio v. On Demand Books LLC, No. 12-821-GMS, 2013 WL 4506411, at *1

n.1 (D. Del. Aug. 21, 2013).

       This factor considers whether a stay would unduly prejudice the non-movant. Under the

circumstances, delay itself cannot be a source of undue prejudice. Because the “risk[]” of

“prolonging the final resolution of the dispute” is “inherent” in staying the case until a

dispositive motion is decided, the “potential for delay” is “insufficient to establish undue

prejudice.” Neste Oil, 2013 WL 3353984, at *2 (emphasis in original). Moreover, Plaintiffs

have not alleged—and cannot plausibly allege—that the “timing” of Motorola’s Motion to

Dismiss suggests any “dilatory intent.” Id. Motorola filed its Motion to Dismiss the case in its

entirety (D.I. 56–58) as soon as Motorola received the relevant documents from Plaintiffs, and in

conjunction with its opposition to Plaintiffs’ Motion to Substitute Uniloc 2017 as Plaintiff (D.I.

59). On the other hand, Plaintiffs waited seven months to file their Motion to Substitute after

Uniloc 2017 was assigned the patent-in-suit.        (See D.I. 50 at 1).   Thus, Motorola is not

attempting to use the motion to stay as a means of gaining a tactical advantage.

       By contrast, Motorola would suffer “undue hardship” from immediate, potentially

unnecessary, discovery. Motorola will continue to incur significant fees and costs to pursue and

answer discovery in this case, which will only escalate as the parties continue to produce

documents, begin depositions, address discovery disputes, etc.        Moreover, as set forth in

Motorola’s Motion to Dismiss and Opposition to Plaintiffs’ Motion to Substitute, this case was

instigated by parties that had no standing to sue and therefore have no right to obtain discovery



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from Motorola, or even continue this litigation against Motorola. On the flipside, only five

months remain before the fact discovery cutoff. (See D.I. 46). In the absence of a stay, Motorola

will lose the limited time left in discovery, only able to seek party discovery from entities

asserting that they no longer have rights to the ’134 Patent. This results in both inequity and

undue hardship to Motorola, particularly when balanced against the limited duration of the stay

being sought by Motorola. Thus, the third factor also favors a stay.

 V.    CONCLUSION

       For the foregoing reasons, Motorola respectfully requests the Court stay the litigation

pending resolution of Motorola’s Motion to Dismiss (D.I. 56–58) and Plaintiffs’ Motion to

Substitute (D.I. 50).




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January 7, 2019




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2019, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on January 7,

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